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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


TEISHA JEAN DOYLE,

           Plaintiff,                         Case No. 1:18−cv−00360−RSK

    v.                                        Hon. Ray Kent

COMMISSIONER OF SOCIAL
SECURITY,

           Defendant.
                                       /



                                        ORDER
        The Court GRANTS plaintiff's unopposed motion for extention to file
her initial brief (ECF No. 11). The briefing schedule is amended as follows:
plaintiff's initial brief is due August 1, 2018; defendant's brief is due 8/29/2018;
plaintiff's reply brief, by September 12, 2018.

         IT IS SO ORDERED.


Dated: June 26, 2018                                  /s/ Ray Kent
                                                     RAY KENT
                                                     U.S. Magistrate Judge
